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June 2002




       A Better Consumer Survey
       For Better Damages
                      by Alan J. Cox

                      As the Supreme Court’s recent ruling in the Victoria’s Secret case acknowledged,
                      many IP cases will turn on consumer surveys. Such surveys are often essential to
                      demonstrate trademark dilution (of the sort discussed in the Victoria’s Secret case),
                      and they are often the best way to estimate damages in a patent or trademark
                      infringement case.

                      However, many litigants in IP suits are shortchanged for lack of properly constructed
                      survey - either receiving too little as plaintiffs or paying too much as defendants. A
                      common failing of many surveys is their inability to provide rigorous estimates of
                      how an infringing product can alter market prices and competitors’ market shares.
                      But one type of consumer survey, choice modeling, does provide such estimates. It
                      can thus make a significant difference in the amount of damages awarded.

                      A Superior Choice
                      In a choice modeling exercise, survey respondents compare the features of a product
                      and report their preferences for a particular combination of features. The results can
                      be translated into monetary values - unlike in traditional surveys. For instance, a
                      conventional survey might be able to determine that 75 percent of potential
                      customers value speed in their Internet connection but such information is of little
                      or no use in estimating damages. A choice modeling survey can predict how much
                      more individuals will pay for faster Internet service and how many people would
                      actually purchase the faster service. This willingness-to-pay and predicted market
                      penetration can then be used to develop a damage estimate.

                      Choice modeling is a relatively new technique, but it was used to good effect in an
                      infringement suit brought in the mid-90s. The plaintiff was a West Coast
                      manufacturing company that was attempting to enter the computer-network cabling
                      market at a particularly propitious time: Computer-networking cable was in short
                      supply and network installers had to wait several weeks to receive cables from the
                      one supplier that dominated the industry. Plaintiff entered into the contract with an
                      East Coast distributor to sell its cable, but the distributor failed to perform, and
                      plaintiff missed the opportunity to establish a foothold in the market during the
                      supply shortage.

                      There was no circumstantial or other evidence that could provide an estimate of the
                      market share the plaintiff would have achieved but for the defendant-distributor’s
                      breach of contract. However, a choice modeling survey showed that the defendant
                      would likely have achieved a very large market share during the shortage and would
                      have continued to hold on to market share once the incumbent firms were able to
                      increase production to end their shortage. Data derived from the choice modeling




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   surveys even allowed for estimates of market share at         The survey provided evidence of consumer confusion
   different prices.                                             when the obscure “Lightning” shoe was sold under the
                                                                 “Reebeck” label. When that change was made, the
   “The survey provided a basis for estimating our
                                                                 relatively unknown shoemaker increased its market
   damages that would otherwise have been difficult or
                                                                 share by three percentage points. In today’s running
   impossible to estimate,” said plaintiff’s attorney
                                                                 shoe market, that magnitude of change would involve
   Gregory Gilchrist, of Legal Strategies Group in
                                                                 many millions of dollars.
   Emeryville, California. The suit was resolved to
   plaintiff’s satisfaction prior to trial.                      Confusion could be capitalized on by charging a
                                                                 higher price for a product with the “Reebeck” brand
   How It Works                                                  rather than the “Lightning” brand. The survey also
   A survey concerning trade dress confusion illustrates         allowed for a reasonable estimate of how market
   the methodology of choice modeling. Approximately             share would change in response to changes in prices.
   150 recent college graduates and experienced
                                                                 Interestingly, however, increased margins and higher
   attorneys were surveyed regarding a hypothetical
                                                                 market shares from using the “Reebeck” brand seem
   marketplace containing four manufacturers of
                                                                 to have arisen only under circumstances in which the
   running shoes: Nike, New Balance, Reebok and an
                                                                 “Reebeck” brand was available and the “Reebok” brand
   obscure manufacturer offering its shoes under either
                                                                 was not. In the context of a shopping situation, this
   or both of the brand names, “Lightning” or “Reebeck.”
                                                                 means that the overlapping brand names did not have
   Each brand of running shoe was described by several           a material impact in the marketplace when the
   characteristics: brand name, weight, availability of          retailer placed both “Reebok” and “Reebeck” side-by-
   width sizing, impact cushioning and shoe upper-body           side on the shelf.
   material. These characteristics can be combined in
                                                                 Courts are likely to demand rigorous demonstrations
   hundreds of ways to make up a full description of a
                                                                 of the manner in which markets would have operated,
   product. For instance, a Nike shoe may weigh 10
                                                                 absent some act of intellectual property infringement.
   ounces, have a nylon upper body, EVA mid-sole, and
                                                                 Choice modeling may often be able to provide such
   come in varying width sizes and cost $90.
                                                                 data, when other methods cannot.
   The survey company produced hundreds of different
   combinations of attributes and printed the
   descriptions on a large number of product-description
   cards. Survey respondents were each given sets of
   four randomly selected cards and asked to rank the
   cards in order of their preference for the combinations       Alan Cox is a Senior Vice President in the San Francisco
   of attributes. The results were compiled and                  office of National Economic Research Associates, which is
   statistically analyzed.                                       headquartered in White Plains, New York.




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